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                            IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF PENNSYLVANIA



                                                    §     Civil Action No.
        STEVEN WARMAN,                              §
             Plaintiff,                             §
                                                    §      COMPLAINT
        vs.                                         §      and
                                                    §      DEMAND FOR JURY TRIAL
                                                    §
        AMERICAN CREDIT                             §
        COLLECTIONS LLC,                            §
                 Defendant.                         §
                                                    §            (Unlawful Debt Collection Practic

                                           Preliminary Statement

        1.       Plaintiff, Steven Warman, ("Warman") brings this action under the Fair Debt

Collection Practices Act, 15U.S.C. § 1692, etseq. ("FDCPA"), as well as under the Pennsylvania

Fair Credit Extension Uniformity Act, 73 P.S. § 2270.1 (FCEUA), to obtain statutory damages,

injunctive relief, declaratory relief, and other relief for the Defendant's violations ofthe FDCPA and

the FCEUA.


        2.       Defendant, American Credit Collections, LLC ("ACC") attempted to collect a

consumer debt ("Debt") allegedly owed by PlaintiffWarman, arising from a purported obligation to

Chase Bank ("Chase"). The obligation ("Debt") required Plaintiffto pay money arising out oftrans-




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